 

 

EXHIBIT 13

(Filed Under Seal)

 

 

 
United States District Court
Southern District of New York

Virginia L. Giuffre,

Plaintiff, Case No.: 15-cv-07433-RWS
Vv.
Ghislaine Maxwell,

Defendant.
/

 

PLAINTIFF, VIRGINIA GIUFFRE’S THIRD REVISED DISCLOSURE
PURSUANT TO FED. R. CIV. P. 26

COMES NOW the Plaintiff, Virginia L. Giuffre, by and through her undersigned counsel,
and serves this revised disclosure pursuant to Fed. R. Civ. P. 26 and states as follows:
A. Witnesses:

1. Virginia L. Giuffre
c/o Sigrid S. McCawley, Esq.
Boies, Schiller & Flexner LLP
401 East Las Olas Boulevard, Suite 1200
Miami, Florida 33301
Tel: (954) 356-0011

Email: smccawley@bsfllp.com

Plaintiff - Information regarding Defendant, Ghislaine Maxwell’s conduct that is
the subject of this action.

2. Ghislaine Maxwell
c/o Laura A. Menninger, Esq.
HADDON, MORGAN & FOREMAN, P.C.
150 East 10" Avenue
Denver, Colorado 80203
Tel: (303) 831-7364
Email: Imenninger@hmflaw.com

Defendant in this action.

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Juan Alessi

Boynton Beach, FL 33472
Telephone number unknown at this time

May have information about Ghislaine Maxwell and Jeffrey Epstein’s sexual

trafficking conduct and interaction with underage minors.

Maria Alessi

Telephone number unknown at this time

May have information about Ghislaine Maxwell and Jeffrey Epstein’s sexual

trafficking conduct and interaction with underage minors.

 

May have information about Ghislaine Maxwell and Jeffrey Epstein’s sexual

trafficking conduct and interaction with underage minors.

 

May have information about Ghislaine Maxwell and Jeffrey Epstein’s sexual

trafficking conduct and interaction with underage minors.

 

Was ms on flights with Jeffrey Epstein and Ghislaine Maxwell and po

and may have knowledge of Jeffrey Epstein and Ghislaine Maxwell’s

sexual trafficking conduct and interactions with minors.

 

May have information about Ghislaine Maxwell and Jeffrey Epstein’s sexual

trafficking conduct and interaction with underage minors.

 

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May have information about Ghislaine Maxwell and Jeffrey Epstein’s sexual
trafficking conduct and interaction with underage minors.

 

 

 

10.
Was present on flights with Jeffrey Epstein, Ghislaine Maxwell and Virginia
Guiffre and may have information about Ghislaine Maxwell and Jeffrey Epstein’s
sexual trafficking conduct and interaction with underage minors.

11.
May have information relating to Ghislaine Maxwell and Jeffrey Epstein’s sexual
trafficking conduct and interaction with underage minors.

12.
May have information about Ghislaine Maxwell and Jeffrey Epstein’s sexual
trafficking conduct and interaction with underage minors.

13.

 

Was present on flights with Jeffrey Epstein, Ghislaine Maxwell and Virginia
Guiffre and has information about Ghislaine Maxwell and Jeffrey Epstein’s sexual
trafficking conduct and interaction with underage minors.

14.

 

Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct.

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Worked for Ghislaine Maxwell and has information about Ghislaine Maxwell’s
recruiting of girls for Jeffrey Epstein.

 

May have information about Ghislaine Maxwell and Jeffrey Epstein’s sexual
trafficking conduct and interaction with underage minors.

 

Worked for Jeffrey Epstein as a masseuse during the time that Virginia Giuffre was
living and traveling with Jeffrey Epstein and Ghislaine Maxwell, and has
information about Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct.

 

Travelled with Jeffrey Epstein and Ghislaine Maxwell and may have information
about Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking conduct.

 

May have information about Ghislaine Maxwell and Jeffrey Epstein’s sexual
trafficking conduct.

 

May have information about Ghislaine Maxwell and Jeffrey Epstein’s sexual
trafficking conduct.

 

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Was present on flights with Jeffrey Epstein, Ghislaine Maxwell and may have
information about Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

 

Was present on flights with Jeffrey Epstein, Ghislaine Maxwell and may have
information about Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

 

May have information about Ghislaine Maxwell and Jeffrey Epstein’s sexual
trafficking conduct and interaction with underage minors.

 

Has knowledge of Defendant’s conduct that is the subject of this action.

 

May have knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct.

 

Was present on flights with Jeffrey Epstein, Ghislaine Maxwell and has
information about Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

 

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Was present on flights with Jeffrey Epstein, Ghislaine Maxwell and has
information about Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

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May have information about Ghislaine Maxwell and Jeffrey Epstein’s sexual
trafficking conduct and interaction with underage minors.

" ee

 

Has knowledge of Ghislaine Maxwell] and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors, including Virginia Giuffre.

30. Records Custodian for Travel fo

 

Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors, including Virginia Giuffre.

o>)
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Jeffrey Epstein

c/o Marty Weinberg, Esq.

20 Park Plaza, Suite 1000, Boston, MA 02116
Tel: (617) 227-3700

Has knowledge of Defendant’s conduct that is the subject of this action and
knowledge of his sexual trafficking operation and other co-conspirators.

: a

May have information about Ghislaine Maxwell and Jeffrey Epstein’s sexual
trafficking conduct and interaction with underage minors.

Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors, including Virginia Giuffre.

 

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Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors, including Virginia Giuffre.

Vicky Ward
Address unknown at this time
Telephone unknown at this time

Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors, including Virginia Giuffre.

 

Has knowledge of Defendant’s conduct that is the subject of this action.

 

Has knowledge of Defendant’s conduct that is the subject of this action.

 

Jeffrey Epstein's staff member in his various homes and may have knowledge of
Defendant and Jeffrey Epstein’s inappropriate conduct with underage girls.

May have knowledge of Defendant’s conduct that is the subject of this action.

 

Former house staff and may have knowledge of Ghislaine Maxwell and Jeffrey
Epstein’s sexual trafficking conduct and interaction with minors.

 

CONFIDENTIAL
Telephone number unknown at this time

Former house staff and may have knowledge of Ghislaine Maxwell and Jeffrey
Epstein’s sexual trafficking conduct and interaction with minors.

 

 

 

 

 

42.
Defendant’s press agent who has knowledge of the defamatory statements in this
case.

43.
May have information about Ghislaine Maxwell and Jeffrey Epstein’s sexual
trafficking conduct and interaction with underage minors

44.
May have knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct.

45.
May have knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct.

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May have knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct.

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Has information about Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and abuse and interaction with underage minors.

 

Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors,

 

May have knowledge of Ghislaine Maxwell and Jeffrey Epstcin’s sexual trafficking
conduct and interaction with underage minors.

 

May have knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

Brett Jaffe
Address noted on Defendant’s Rule 26 disclosures

Defendant’s attorney.

 

Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

 

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Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interactions with minors.

 

May have knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking

conduct and interaction with underage minors.

 

Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking

conduct and interaction with underage minors.

 

Traveling chef for Jeffrey Epstein and Ghislaine Maxwell and may have knowledge
of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking conduct and

interaction with underage minors.

 

May have knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking

conduct and interaction with underage minors.

 

May have knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking

conduct.

 

May have knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking

conduct and interaction with underage minors.

 

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Telephone number unknown at this time

May have knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

" ee

May have knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

May have knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors,

" ee

May have information about Ghislaine Maxwell and Jeffrey Epstein’s sexual
trafficking conduct and interaction with underage minors.

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May have knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

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House staff who may have knowledge of Ghislaine Maxwell and Jeffrey Epstein’ s
sexual trafficking conduct and interaction with underage minors.

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House staff who may have knowledge of Ghislaine Maxwell and Jeffrey Epstein’s
sexual trafficking conduct and interaction with underage minors.

: ee

Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

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Knowledge of Defendant’s conduct that is the subject of this action.

House staff that may have knowledge of Ghislaine Maxwell and Jeffrey Epstein’s
sexual trafficking conduct and interaction with underage minors.

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House staff that may have knowledge of Ghislaine Maxwell and Jeffrey Epstein’s
sexual trafficking conduct and interaction with underage minors.

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Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

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May have knowledge of Defendant’s conduct in this action.

 

House staff that may have knowledge of Ghislaine Maxwell and Jeffrey Epstein’s
sexual trafficking conduct and interaction with underage minors.

Joseph Recarey

Detective Recarey was the chief investigator of the crimes committed at Jeffrey
Epstein’s Palm Beach mansion and has information about Ghislaine Maxwell and
Jeffrey Epstein’s sexual trafficking conduct and interaction with underage minors.

Chief Michael Reiter

Police Chief Reiter oversaw the investigation of the crimes committed at Jeffrey
Epstein’s Palm Beach mansion and has information about Ghislaine Maxwell and
Jeffrey Epstein’s sexual trafficking conduct and abuse of underage minors.

 

Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

 

Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

 

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Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

 

 

 

 

 

77.
Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

78,
Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

79,
Worked for Jeffrey Epstein during the time when Virginia Giuffre was living and
traveling with Jeffrey Epstein and Ghislaine Maxwell. Johanna Sjobjerg was also
present at an occasion with Prince Andrew, Ghislaine Maxwell, and Virginia
Giuffre when Ms. Giuffre was a minor.

80.
May have knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

81.
May have knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

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Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

 

May have knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct.

 

Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

 

Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

Has information about Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

 

Has knowledge of Ghislaine Maxwell and Jeffrey Epstein’s sexual trafficking
conduct and interaction with underage minors.

All females identified in the police reports or identified through the United State’s
Attorney’s office during or through the criminal investigation of Jeffrey Epstein
and his co-conspirators.

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All other then-minor girls, recruited by Ghislaine Maxwell, whose identities Ms.
Giuffre will attempt to determine, with whom Defendant, Ghislaine Maxwell and
Jeffrey Epstein, have engaged in sexual activity.

All pilots, chauffeurs, chefs, and other employees of either Defendant Maxwell or
Jeffrey Epstein with knowledge of Defendant and Jeffrey Epstein’s inappropriate
conduct with underage girls.

All staff and employees at the Mar-a-Lago Club during 1999-2002.

All other witnesses learned through discovery process.

Relevant Documents:

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All files held by the Palm Beach Police Department or the Palm Beach State
Attorney’s office which are publically available.

All press releases of Ghislaine Maxwell or on her behalf.
The video(s) of Ghislaine Maxwell adopting the January, 2015 press statement.
All newspaper or other media where Ghislaine Maxwell’s press release appears.

All evidence obtained by the Federal Bureau of Investigations which relate in any
way to Jeffrey Epstein or Ghislaine Maxwell.

All 302 statements that relate in any way to Jeffrey Epstein or Ghislaine Maxwell.

All evidence obtained by the FBI or United States Attorney’s office by or through

the criminal investigation of Po

All documents relating to the previous subpoenas served on Defendant for her
deposition and all documents related in any way to that deposition.

All documents evidencing visitors or passengers at any of Jeffrey Epstein owned or
controlled property or aircraft.

All documents demonstrating the relationship between ae: Jeffrey
Epstein or Ghislaine Maxwell.

All photos of Ghislaine Maxwell i

All documents or information refuting statements made by Ghislaine Maxwell.

All documents and information relating to 2 <!. including travel
to New York City and the Caribbean, in 1999 to 2002.

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Exhibits:

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Palm Beach Police Department report and documents contained within Jeffrey
Epstein's criminal files, attached hereto as Exhibit 1.

March 10, 2011 Statement on behalf of Ghislaine Maxwell by Media agent Ross
Gow, attached hereto as Exhibit 2.

September 3, 2008 Victim Notification Letter, attached hereto as Exhibit 3.

May 1, 2009 Complaint in Jane Doe No. 102 v. Jeffrey Epstein, CIV-09-80656, in
the Southern District of Florida, attached hereto as Exhibit 4.

FBI 302 Statement, attached hereto as Exhibit 5.
Flight Logs, attached hereto as Composite Exhibit 6.

Message Pads from Law Enforcement from trash pull of Jeffrey Epstein’s Palm
Beach home, attached hereto as Exhibit 7.

Jeffrey Epstein’s Phone Book, also referred to as his “Black Book,” attached hereto
as Exhibit 8.

Deposition cL attached hereto as Composite Exhibit 9.

Deposition Transcripts of Juan Alessi, attached hereto as Exhibit 10.

Deposition Transcripts of PI attached hereto as Exhibit 11.

January 2, 2015 Corrected Joinder Motion [DE 280] filed in the CVRA action
pending in the Southern District of Florida, attached hereto as Exhibit 12. [All
paragraphs between “The Government then concealed from Jane Doe No. 3
the existence of the NPA (pg. 3) and “The Government was well aware of Jane
Doe No. 3 when it was negotiating the NPA” (pg. 6) were stricken by Judge
Marra.]

January 21, 2015 Declaration of Jane Doe No. 3 filed in the CVRA action pending
in the Southern District of Florida, attached hereto as Exhibit 13. [Paragraphs 4, 5,
7, 11, 13, 15, 19-53, and 59 were stricken by Judge Marra]

February 6, 2015 Declaration of Jane Doe No. 3 filed in the CVRA action pending
in the Southern District of Florida, attached hereto as Exhibit 14. [Paragraphs 7-
12, 16, 39 and 49 were stricken by Judge Marra.]

November 25, 2015 Affidavit of Virginia Giuffre, filed in the Bradley Edwards and
Paul Cassell v. Alan Dershowitz matter, pending in the Seventeenth Judicial
Circuit, Broward County, Florida, attached hereto as Exhibit 15.

Virginia Roberts’ passport, attached hereto as Exhibit 16.

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Judge Thomas Lynch’s January 12, 2016 Confidentiality Order regarding Virginia
Giuffre’s deposition, attached hereto as Exhibit 17.

Documents produced and bates labelled Non-Party VR 000001 — Non-Party VR
000644, in the Bradley Edwards and Paul Cassell v. Alan Dershowitz matter,
pending in the Seventeenth Judicial Circuit, Broward County, Florida, attached
hereto as Exhibit 18.

Victims Refuse Silence Articles of Incorporation and Amendment, attached hereto
as Composite Exhibit 19.

Victims Refuse Silence By-laws, attached hereto as Exhibit 20.
Victims Refuse Silence 2016 Annual Report, attached hereto as Exhibit 21.

January 3, 2015 Daily Mail article: “Harvard Law Professor Named Alongside
Prince Andrew in ‘Sex Slave’ Case Accuses Alleged Victim of ‘Making Up
Stories,’” attached hereto as Exhibit 22.

January 3, 2015 Press Statement issued by Ross Gow to Express set forth in
“Ghislaine Maxwell: I was not a madam for paedophile,” attached as Exhibit 23.

January 4, 2015 Statement by Ghislaine Maxwell to New York Daily News
Reporter “Alleged Madam Accused of Supplying Prince Andrew With Underage
Teen for Sex Spotted in NYC — As He’s Seen Cutting Swiss Vacation Short to Face
Queen,” attached hereto as Exhibit 24.

February 1, 2015 Mirror article: “Prince Andrew’s Pal Ghislaine Maxwell May Sue
Over Madam Allegations,” attached hereto as Exhibit 25.

September 23, 2007 Red Ice Creations Article “Prince Andrew’s Friend, Ghislaine
Maxwell, Some Underage Girls, and A Very Disturbing Story,” attached hereto as
Exhibit 26.

Photographs, attached hereto as Exhibit 27.

April 13, 2010 Deposition Transcript of Nadia Marcinkova, attached hereto as
Exhibit 28.

Computation of Damages:

l.

Physical, psychological and psychiatric injuries and resulting medical expenses — in
an amount of approximately $ 102,200 present value.

a, Computation Analysis:

i. Giuffre has had to receive treatment for the psychological harm as a
result of Maxwell’s conduct towards Giuffre.

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iv.

The average annual expenditures for mental health services for adults
18-64 in the United States is $1,751.

Giuffre needs continuing care as a result of the harm she has suffered.
Ms. Giuffre was born August 9, 1983 and was 31.4 years old at the
beginning of 2015 when the alleged harm occurred. The average
remaining life expectancy for a31 year old female is 51.1 years.

Based on a remaining life expectancy of 51.1 years, annual healthcare
cost growth of 3.3% and a discount rate of 2.7%, the present value of
expected treatment costs is $102,200 as of 1/1/2015.

b. Supporting Evidence:

i.
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Ms. Giuffre is in the process of collecting records from her physicians
Ms. Giuffre’s testimony

Ms. Giuffre is in the process of retaining an expert to calculate
damages, and will provide further information through expert
disclosure.

Past, present and future pain and suffering, mental anguish, humiliation,
embarrassment, loss of self-esteem, loss of standing in the community, loss of
dignity and invasion of privacy in her public and private life not less than
$30,000,000.00.

a. Computation Analysis

i.

Under New York law, defamation per se as alleged in this case
presumes damages and special damages do not need to be plead and
proven. See Celle v. Filipino Reporter Enterprises Inc., 209 F.3d 163,
179 (24 Cir. 2000) (Second Circuit holding that ‘[i]f a statement is
defamatory per se, injury is assumed. In such a case ‘even where the
plaintiff can show no actual damages at all, a plaintiff who has
otherwise shown defamation may recover at least nominal damages’
and the Second Circuit also confirmed an award of punitive
damages). Ms. Giuffre has been severely damaged by the defamation
of the defendant, by calling her claims of sexual abuse “obvious lies”.
The defamation caused Ms. Giuffre to re-live the sexual abuse she
previously endured. Ms. Giuffre has suffered and continues to suffer
from the pain, mental anguish, humiliation, embarrassment, loss of
self-esteem, loss of standing in the community, loss of dignity and
invasion of privacy in her public and private life. The computation of
this amount is in the province of the jury but Ms. Giuffre contends,

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including but not limited to, awards in other similar matters, that the
amount is not less than $30,000,000.00. Ms. Giuffre is in the process
of retaining an expert, and will provide further information through
expert disclosure.

b. Supporting Evidence

i.
ii.
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iv.

Ms. Giuffre’s testimony
Witness testimony
Awards in similar matters

Ms. Giuffre is in the process of retaining an expert, and will provide
further information through expert disclosure.

3. Estimated lost income of $180,000 annually. Present value of $3,461,000 to

$5,407,000.

a. Computation Analysis

i.

il.

Ms. Giuffre’s estimated compensation capacity is $180,000 annually.
Ms. Giuffre was born August 9, 1983 and was 31.4 years old at the
beginning of 2015 when the alleged injury occurred. Her expected
remaining work life based on mortality and probability of continued
work was 20.2 years. Based on these factors, a 2% annual growth rate
and a 2.4% discount rate, the present value of lost compensation is
$3,461,000 as of 1/1/2015.

Alternatively, if Ms. Giuffre is assumed to work until a normal
retirement age of 65, or 33.6 years from her age at the beginning of
2015, and based on an annual growth rate of 2.0% and a discount rate
of 2.7%, the present value of lost compensation is $5,407,000 as of

1/1/2015.

b. Supporting Evidence

i,

Materials regarding compensation and work life expectancy

1) 2010 Life Table for Females, National Vital Statistics Report,
November 6, 2014, U.S. Department of Health & Human
Services, Centers for Disease Control & Prevention, National
Center for Health Statistics.

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2) “Calculation of Work life Expectancy Using the Life,
Participation, Employment Method,” Vocational Econometrics,
Inc.

3) Consumer Price Index for Urban Wage Earners and Clerical
Workers, United States Department of Labor, Bureau of Labor
Statistics.

4) Federal Reserve Statistical Release H.15, 1/5/2015.
ii. Ms. Giuffre’s testimony

iii. Ms. Giuffre is in the process of retaining a damages expert and will provide
further information through expert disclosures.

Punitive Damages - to be based upon all relevant factors, including the egregious
nature of Defendant, Ghislaine Maxwell’s conduct and the need for a large award to
punish and deter conduct in view of the vast wealth of Defendant Maxwell, in an
amount not less than $50,000,000.00.

a. This calculation is in the province of the jury.

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Dated: June 1, 2016.

Respectfully Submitted,

BOIES, SCHILLER & FLEXNER LLP

By: /s/ Sigrid McCawley
Sigrid McCawley (Pro Hac Vice)
Meredith Schultz (Pro Hac Vice)
Boies Schiller & Flexner LLP
401 E. Las Olas Blvd., Suite 1200
Ft. Lauderdale, FL 33301
(954) 356-0011

David Boies

Boies Schiller & Flexner LLP
333 Main Street

Armonk, NY 10504

Bradley J. Edwards (Pro Hac Vice)
FARMER, JAFFE, WEISSING,
EDWARDS, FISTOS & LEHRMAN, P.L.
425 North Andrews Avenue, Suite 2

Fort Lauderdale, Florida 33301

(954) 524-2820

Paul G. Cassell (Pro Hac Vice)
S.J. Quinney College of Law
University of Utah

383 University St.

Salt Lake City, UT 84112
(801) 585-5202!

 

' This daytime business address is provided for identification and correspondence purposes only and is not intended to
imply institutional endorsement by the University of Utah for this private representation.
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CERTIFICATE OF SERVICE
WE HEREBY CERTIFY that a true and correct copy of the above and foregoing
Disclosure Pursuant to Fed. R. Civ. P. 26 has been provided by United States mail and electronic
mail to all counsel of record identified below, on this Ist day of June, 2016.

Laura A. Menninger, Esq.

Jeffrey S. Pagliuca, , Esq.

HADDON, MORGAN & FOREMAN, P.C.
150 East 10" Avenue

Denver, Colorado 80203

Tel: (303) 831-7364

Fax: (303) 832-2628

Email: Imenninger@hmflaw.com

Email: jpagliuca@hmflaw.com

By: /s/ Sigrid McCawley
Sigrid McCawley

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